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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                               STATESBORO DIVISION




WILLIE WILLIAMS,

      Movant,

                                             Case No. CV616-063
                                                       CR614-001
UNITED STATES OF AMERICA


   Respondent.

                                     ORDER


      After a careful de novo review of the record in this case, the Court concurs with

the Magistrate Judge's Report and Recommendation, to which no objections have been

filed. Accordingly, the Report and Recommendation of the Magistrate Judge is adopted

as the opinion of the Court.

      SO ORDERED this T^dav of July, 2016.



                                       J. RANDAL HALL
                                        UNITEJD STATES DISTRICT JUDGE
                                               [ERN DISTRICT OF GEORGIA
